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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2023

UNITED STATES OF AMERICA
V.
PHILLIP MARION CRAWFORD,

Defendant.

CRIMINAL NO. 23-CR-00426 (JEB)

VIOLATIONS:

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. § 111(a)()

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. §§ 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

SUPERSEDING INDICTMENT

The Grand Jury charges that:
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COUNT ONE
On or about January 6, 2021, within the District of Columbia, PHILLIP MARION
CRAWFORD committed and attempted to commit an act to obstruct, impede, and interfere with
a law enforcement officer, lawfully engaged in the lawful performance of his/her official duties
incident to and during the commission of a civil disorder which in any way and degree obstructed,
delayed, and adversely affected commerce and the movement of any article and commodity in
commerce and the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, at approximately 4:10:45 p.m., within the District of
Columbia, PHILLIP MARION CRAWFORD did forcibly assault, resist, oppose, impede,
intimidate, and interfere with, an officer and employee of the United States, and of any branch of
the United States Government (including any member of the uniformed services), and any person
assisting such an officer and employee, that is an officer of the United States Capitol Police, while
such person was engaged in and on account of the performance of official duties, and where the
acts in violation of this section involve physical contact with the victim and the intent to commit
another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United

States Code, Section 111(a)(1))

COUNT THREE

On or about January 6, 2021, between approximately 4:10:56 p.m. to 4:11:05 p.m., within
the District of Columbia, PHILLIP MARION CRAWFORD did forcibly assault, resist, oppose,

impede, intimidate, and interfere with, an officer and employee of the United States, and of any
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branch of the United States Government (including any member of the uniformed services), and
any person assisting such an officer and employee, that is an officer of the United States Capitol
Police,-while such person was engaged in and on account of the performance of official duties,
and where the acts in violation of this section involve physical contact with the victim and the
intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United

States Code, Section 111(a)(1))

COUNT FOUR

On or about January 6, 2021, at approximately 4:11:15 p.m., within the District of
Columbia, PHILLIP MARION CRAWFORD did forcibly assault, resist, oppose, impede,
intimidate, and interfere with, an officer and employee of the United States, and of any branch of
the United States Government (including any member of the uniformed services), and any person
assisting such an officer and employee, that is an officer of the Metropolitan Police Department,
while such person was engaged in and on account of the performance of official duties, and where
the acts in violation of this section involve physical contact with the victim and the intent to commit
another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United

States Code, Section 111(a)(1))

COUNT FIVE

On or about January 6, 2021, at approximately 4:12:04 p.m., within the District of
Columbia, PHILLIP MARION CRAWFORD did forcibly assault, resist, oppose, impede,
intimidate, and interfere with, an officer and employee of the United States, and of any branch of

the United States Government (including any member of the uniformed services), and any person
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assisting such an officer and employee, that is an officer of the Metropolitan Police Department,
while such person was engaged in and on account of the performance of official duties, and where
the acts in violation of this section involve physical contact with the victim and the intent to commit
another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United

States Code, Section 111(a)(1))

COUNT SIX

On or about January 6, 2021, at approximately 4:13:30 p.m., within the District of
Columbia, PHILLIP MARION CRAWFORD, using a deadly and dangerous weapon, that is, a
gas mask, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and
employee of the United States, and of any branch of the United States Government (including any
member of the uniformed services), and any person assisting such an officer and employee, while
such officer or employee was engaged in or on account of the performance of official duties, and
where the acts in violation of this section involve physical contact with the victim and the intent
to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in

violation of Title 18, United States Code, Sections 111(a)(1) and (b))

COUNT SEVEN

On or about January 6, 2021, within the District of Columbia, PHILLIP MARION
CRAWFORD did knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was and would be temporarily visiting, without lawful authority

to do so, and, during and in relation to the offense, did use and carry a deadly and dangerous
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weapon, that is, a gas mask.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and

(b)C1)(A))

COUNT EIGHT

On or about January 6, 2021, in the District of Columbia, PHILLIP MARION
CRAWFORD did knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and disruptive conduct in and
within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
was and would be temporarily visiting, when and so that such conduct did in fact impede and
disrupt the orderly conduct of Government business and official functions, and, during and in
relation to the offense, did use and carry a deadly and dangerous weapon, that is, a gas mask.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a
Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section
1752(a)(2) and (b)(1)(A))

COUNT NINE

On or about January 6, 2021, in the District of Columbia, PHILLIP MARION
CRAWFORD did knowingly engage in any act of physical violence against any person and
property in a restricted building and grounds, that is, any posted, cordoned-off, and otherwise
restricted area within the United States Capitol and its grounds, where the Vice President was and
would be temporarily visiting and, during and in relation to the offense, did use and carry a deadly
and dangerous weapon, that is, a gas mask.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and

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(b)C)(A))

COUNT TEN

On or about January 6, 2021, in the District of Columbia, PHILLIP MARION
CRAWFORD willfully and knowingly engaged in disorderly and disruptive conduct within the
United States Capitol Grounds and in any of the Capitol Buildings with the intent to impede,
disrupt, and disturb the orderly conduct of a session of Congress and either House of Congress,
and the orderly conduct in that building of a hearing before or any deliberation of, a committee of
Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,

Section 5104(e)(2)(D))

COUNT ELEVEN
On or about January 6, 2021, in the District of Columbia, PHILLIP MARION

CRAWFORD willfully and knowingly engaged in an act of physical violence within the United
States Capitol Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON.

Tl, FS

Attorney of the United States in ;
and for the District of Columbia.
